                   Case 1:19-cv-12172-DJC Document 1-6 Filed 10/21/19 Page 1 of 1




                                                                                                                                                                             t~                  1 ~
 I "~~~ ~~
 ~e~              ~r~                             •             ~          •      , 1

                          ..
    ~ +~.Y..„,
             6     ~ 1~
             9k




                                           ~ ~        ~               ~ ~        I       ~          r       ~     I ~ ~'




Students have the option to request that the ~dministrati~e hoard reconsider any of its decisions provided
new materially relevant information becomes available or there is reasonable evidence of a procedural
error. Students who believe they have sufficient grounds for reconsideration should consult with their
resident dean, the Secretary of the Board, or their personal adviser(a faculty member or officer ofthe
University affiliated with the Faculty of Arts and Sciences).

In keeping with Section 504 ofthe Rehabilitation Act of 1973, a student with a disability who believes
that the Administrative Board did not properly consider any claims pertaining to his or her disability may
seek further review from the Office ofthe University Disability Coordinator, including in disciplinary
case decisions. For information on grievance procedures, visit the Harvard Accessibility Office website:
http://accessibility.harvard.edu/grievance-procedures.

Students also have the option to appeal to the Faculty Council dzsciplina~y case decisions of the
Administrative Board, where the sanction has been a requirement to withdraw or probation for more than
one term. Students may appeal because:

      1) the Administrative Board made a procedural error;
      2) the Administrative Board came to the wrong conclusion about whether Faculty rules were
         violated; or
      3) based upon a review of the Administrative Board's annual disciplinary statistics, the sanction
                    :.,~,.,.., ~ .-. <,, ..~   ~ > ./.~,. ,..                        ,
                                                                    .~ ,...,.: +.,. +..4-+..t,.~1-+ t ~.,, n..~+.,..~ ~ ~ ~r+ .~. ~ -+,.+ n.~u~ n + n4-,i+,v+~- i x ~+ ~~ a4n w ~ ns ~ n ~   a+n ~1-~ ~~ +   n   r,'s c^e n
                          1111~)U~GU ~y l.i~G ~U111111.1~Li A.~i Vc DVA.t U wad li1Vv11~t~~cltt, W ll,li 1[.J u~ua~ ~i:~ a~~l~c 11I VC~.~J'L~ a lu

                      therefore inappropriate.

Such appeals are first screened by the Docl~et Committee, a group ofthree elected representatives of the
Faculty Council. All appeals must be filed within six months of the initial decision of the Administrative
Board, and once a student has been awarded a degree from Harvard College the option to have the Board
reconsider a decision or to appeal to the Faculty Council is closed.

Further information about the appeals process can be obtained from the Secretary of the Faculty,
University Hall, First Floor (secfas@fas.harvard.edu; 617-495-3613).




6.2012

www.adboard.fas.harvard.edu                                                                                                                                                                                                   EXHIBIT 6
